                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF MISSOURI
                                          WESTERN DIVISION



LOCAL UNION NO. 124 IBEW PENSION                             )
TRUST FUND, et al.,                                          )
                                                             )
                                           Plaintiffs,       )
           v.                                                )      No. 4:18-cv-00221-BCW
                                                             )
LAN-TEL COMMUNICATIONS SERVICES, INC.,                       )
                                                             )
                                           Defendant.        )




                                      MEMORANDUM IN SUPPORT
                                                 OF
                             PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT




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                                        ATTORNEYS FOR PLAINTIFFS




{00373879;IBEW17-135;JJW }               1
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                                             EXHIBIT LIST

     A. Plaintiffs’ First Request for Admissions to Defendant (“First RFA”)

     B. Letter of Assent-A executed by Lan-Tel on May 9, 2011

     C. Missouri Voice, Data, Video/Security Agreement/Effective 3/1/10

     D. Missouri Voice, Data, Video/Security Agreement Addendum for Local Union No. 124,
        IBEW and Kansas City Chapter, NECA/Effective 5/30/11 – 5/31/2013

     E. Missouri Voice, Data, Video/Security Agreement Addendum for Local Union No. 124,
        IBEW and Kansas City Chapter, NECA/Effective 9/1/13 – 8/28/16

     F. Missouri Voice, Data, Video/Security Agreement Addendum for Local Union No. 124,
        IBEW and Kansas City Chapter, NECA/Effective 12/26/16 –11/27/2019

     G. Affidavit of Amy Rote (“Rote Aff.”)

                 1. Audit of Lan-Tel for the period July 1, 2014 through June 30, 2018

     H. Affidavit of John Fennesy (“Fennesy Aff.”)

     I. Affidavit of Kenneth C. Borden (“Borden Aff.”)

     J. Affidavit of John J. Westerhaus (“Westerhaus Aff.”)

                 1. Attorneys Fees Court Exhibit

     K. Affidavit of Kevin Smith (“Smith Aff.”)

                 1. Discussion and Resolution for Minutes – Liquidated Damages and Interest
                    Assessments for the Plaintiff Funds




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                                 GLOSSARY OF ABBREVIATIONS

•          Association: Kansas City Division, Kansas City Chapter, National Electrical Contractors
           Association, Inc.

•          Audit Period: The time period from July 1, 2014 through June 30, 2018.

•          CBA: Collective Bargaining Agreement.

•          ERISA: Employee Retirement Income Security Act of 1974.

•          LMRA: The Labor Management Relations Act.

•          Lan-Tel: Defendant Lan-Tel Communications Services, Inc.

•          Plaintiffs:

                 Plaintiff Funds:
           o     Annuity/401(K): Local Union No. 124 I.B.E.W. - N.E.C.A. Annuity and 401(k) Trust
                 Fund.
           o     LMCC: Labor Management Cooperation Trust.
           o     NEBF: National Electrical Benefit Fund.
           o     Pension Fund: Local Union No. 124 I.B.E.W. Pension Trust Fund.
           o     Training Fund: Electrical Joint Apprenticeship and Training Trust Fund.
           o     Vacation Fund: Local Union No. 124 I.B.E.W. Vacation & Holiday Trust Fund.
           o     Welfare Fund: I.B.E.W. Local Union No. 124 Health & Welfare Fund.

             Plaintiff Union:
           o Union: International Brotherhood of Electrical Workers Local Union No. 124, AFL-CIO.




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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF MISSOURI
                                       WESTERN DIVISION

LOCAL UNION NO. 124 IBEW PENSION                                 )
TRUST FUND, et al.,                                              )
                                                                 )
                                           Plaintiffs,           )
           v.                                                    )      No. 4:18-cv-00221-BCW
                                                                 )
LAN-TEL COMMUNICATIONS SERVICES, INC.,                           )
                                                                 )
                                           Defendant.            )

             STATEMENT OF UNCONTROVERTED MATERIAL FACTS (“SUMF”)

                                      A. Plaintiffs’ Right to Bring Action

1.         This action arises under and jurisdiction is founded on Section 502 and Section 515 of ERISA,

           29 U.S.C. § 1132 and 29 U.S.C. § 1145, and under Section 301 of the LMRA, as amended,

           29 U.S.C. §185. Complaint, Count I, ¶1, Count VII, ¶1; Exhibit “I” – Affidavit of Kenneth

           C. Borden (“Borden Aff.,”) ¶35; *Exhibit “J” – Affidavit in Support of Attorney’s Fees

           (“Westerhaus Aff.”), ¶3.

2.         Plaintiffs, John Fennesy and Kenneth C. Borden, are duly appointed and acting Trustees of

           the Plaintiff Pension Fund who are authorized to maintain this action on behalf of the

           Pension Fund and all the Trustees of the Pension Fund. Complaint, Count I, ¶2; Exhibit

           “H” – Affidavit of John Fennesy (“Fennesy Aff.,”) ¶2; Borden Aff.. ¶2.

3.         The Pension Fund is a trust fund existing and established pursuant to Section 302 of the

           LMRA, 29 U.S.C. §186, and is an employee benefit plan within the meaning of Section 3

           of ERISA, 29 U.S.C. §1002. Complaint, Count I, ¶2; Fennesy Aff., ¶3; Borden Aff., ¶3.

4.         The Pension Fund was established on January 7, 1965, pursuant to the CBA entered into

           between the Association and the Plaintiff Union, and the Trust Agreement establishing the



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           Pension Fund was amended and revised effective June 1, 1993. Complaint, Count I, ¶3;

           Fennesy Aff., ¶4; Borden Aff., ¶4.

5.         Plaintiffs, Kenneth Cooper and Dennis Quebe are duly appointed and acting Trustees of the

           Plaintiff NEBF who are authorized to maintain this action on behalf of the NEBF and all

           the Trustees of the NEBF. Complaint, Count II, ¶1; Borden Aff., ¶5-6.

6.         The NEBF is a trust fund existing and established pursuant to Section 302 of the LMRA,

           29 U.S.C. §186, and is an employee benefit plan within the meaning of Section 3 of ERISA,

           29 U.S.C. §1002. Complaint, Count II, ¶1; Borden Aff., ¶7.

7.         The NEBF was established September 3, 1946 pursuant to the CBA between the National

           Electrical Contractors Association and the International Brotherhood of Electrical Workers;

           the Trust Agreement establishing the NEBF was amended and restated effective January 1,

           2010. Complaint, Count II, ¶2; Borden Aff., ¶8.

8.         Plaintiffs, John Fennesy and Kenneth C. Borden, are duly appointed and acting Trustees of

           Plaintiff Annuity and 401(k) Fund who authorized to maintain this action on behalf of the

           Annuity and 401(k) Fund and all the Trustees of the Annuity and 401(k) Fund. Complaint,

           Count III, ¶1; Fennesy Aff., ¶12; Borden Aff., ¶12.

9.         The Annuity and 401(k) Fund is a trust fund existing and established pursuant to Section

           302 of the LMRA, 29 U.S.C. §186, and is an employee benefit plan within the meaning of

           Section 3 of ERISA, 29 U.S.C. §1002. Complaint, Count III, ¶1; Fennesy Aff., ¶13; Borden

           Aff., ¶13.

10.        The Annuity and 401(k) Fund was established on December 15, 1987, pursuant to the CBA

           entered into between the Association and the Plaintiff Union; the Trust Agreement




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           establishing the Annuity and 401(k) Fund was amended and revised effective June 1, 1993.

           Complaint, Count III, ¶2; Fennesy Aff., ¶14; Borden Aff., ¶14.

11.        Plaintiffs, John Fennesy and Kenneth C. Borden, are duly appointed and acting Trustees of

           the Plaintiff Welfare Fund who are authorized to maintain this action on behalf of the Welfare

           Fund and all the Trustees of the Welfare Fund; Complaint, Count IV, ¶1; Fennesy Aff., ¶9;

           Borden Aff., ¶9.

12.        The Welfare Fund is a trust fund existing and established pursuant to Section 302 of the

           LMRA, 29 U.S.C. §186, and is an employee benefit plan within the meaning of Section 3

           of ERISA, 29 U.S.C. §1002. Complaint, Count IV, ¶1; Fennesy Aff., ¶10; Borden Aff., ¶10.

13.        The Welfare Fund was established on July 3, 1952, pursuant to the CBA entered into between

           the Association and the Plaintiff Union; the Trust Agreement establishing the Welfare Fund

           was amended and revised effective June 1, 1993. Complaint, Count IV, ¶2; Fennesy Aff.,

           ¶11; Borden Aff., ¶11.

14.        Plaintiffs, John Fennesy and Kenneth C. Borden, are duly appointed and acting Trustees of

           the Plaintiff Vacation Fund who are authorized to maintain this action on behalf of the

           Vacation Fund and all the Trustees of the Vacation Fund. Complaint, Count V, ¶1; Fennesy

           Aff., ¶15; Borden Aff., ¶15.

15.        The Vacation Fund is a trust fund existing and established pursuant to Section 302 of the

           LMRA, 29 U.S.C. §186, and is an employee benefit plan within the meaning of Section 3

           of ERISA, 29 U.S.C. §1002. Complaint, Count V, ¶1; Fennesy Aff., ¶16; Borden Aff., ¶16.

16.        The Vacation Fund was established on March 8, 1968 pursuant to the CBA entered into

           between the Association and the Plaintiff Union; the Trust Agreement establishing the




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           Vacation Fund was amended and revised effective June 1, 1993. Complaint, Count V, ¶2;

           Fennesy Aff., ¶17; Borden Aff., ¶17.

17.        Plaintiffs, John Fennesy and Kenneth C. Borden, are duly appointed and acting Trustees of

           the Plaintiff Training Fund who are authorized to maintain this action on behalf of the

           Training Fund and all the Trustees of the Training Fund. Complaint, Count VI, ¶1; Fennesy

           Aff., ¶18; Borden Aff., ¶18.

18.        The Training Fund is a trust fund existing and established pursuant to Section 302 of the

           LMRA, 29 U.S.C. §186, and is an employee benefit plan within the meaning of Section 3

           of ERISA, 29 U.S.C. §1002. Complaint, Count VI, ¶1; Fennesy Aff., ¶19; Borden Aff., ¶19.

19.        The Training Fund was established on September 6, 1956, pursuant to the CBA entered into

           between the Association and the Plaintiff Union; the Trust Agreement establishing the

           Training Fund was amended and revised effective May 10, 1994. Count VI, ¶2; Fennesy

           Aff., ¶20; Borden Aff., ¶20.

20.        Plaintiffs, John Fennesy and Kenneth C. Borden, are duly appointed and acting Trustees of

           the Plaintiff LMCC who are authorized to maintain this action on behalf of the LMCC and all

           the Trustees of the LMCC. Complaint, Count VII, ¶1; Fennesy Aff., ¶21; Borden Aff., ¶21.

21.        The LMCC is a trust fund existing and established pursuant to Section 302 of the LMRA,

           29 U.S.C. §186, and is an employee benefit plan within the meaning of Section 3 of ERISA,

           29 U.S.C. §1002. Complaint, Count VII, ¶1; Fennesy Aff., ¶22; Borden Aff., ¶22.

22.        The LMCC was established on March 1, 1995, pursuant to the CBA entered into between

           the Association and the Plaintiff Union. Complaint, Count VII, ¶3; Fennesy Aff., ¶23;

           Borden Aff., ¶23.




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23.        John Fennesy is the business manager for the Plaintiff Union and is authorized to maintain

           this action on its behalf. Fennesy Aff., ¶5.

24.        Plaintiff Union is an unincorporated association comprised of and representing persons

           engaged in electrical work and related activities. The Union is a labor organization within

           the meaning of Section 2(5) of the National Labor Relations Act (“NLRA”), 29 U.S.C. §

           152(5), representing employees in an industry affecting commerce within the meaning of

           Section 301(a) of the LMRA, 29 U.S.C. §185(a), and is an “employee organization” within

           the meaning of Section 3(4) of ERISA, 29 U.S.C. § 1002(4). Complaint, Count VIII, ¶1;

           Fennesy Aff., ¶6.

25.        Plaintiffs served the Secretary of Treasury and the Secretary of Labor with copies of the

           Complaint as required by Section 502(h) of ERISA, 29 U.S.C. §1132(h) by depositing

           copies of the Complaint in the United States mail, certified mail, addressed to said

           Secretary of Treasury and Said Secretary of Labor on or about March 21, 2018. Complaint,

           Count I, ¶5; Fennesy Aff., ¶8; Westerhaus Aff., ¶2.

                                          B. Jurisdiction and Venue

26.        Plaintiff Union maintains its principal offices in Kansas City, Jackson County, Missouri, and

           Plaintiff's duly authorized officers and agents are engaged in representing or acting for

           employee members in Jackson County, Missouri, within the territorial jurisdiction of this

           Court. Fennesy Aff., ¶7; Lan-Tel’s Answer, ECF No. 5, Count VIII, No. 3.1

27.        The situs of the Plaintiff Funds is the City of Kansas City, Missouri. Smith Aff., ¶2.

28.        Lan-Tel is a Missouri corporation doing business in the Western District of Missouri. Lan-

           Tel’s Answer, ECF No. 5, Count I, No. 3; Count IX, No. 2.


1
    Lan-Tel’s Answer (ECF No. 5) contains two “Count VII” sections. Lan-Tel’s second “VII” section refers
    to the allegations set forth in Section VIII of Plaintiffs’ Complaint (ECF No. 1), so VIII is used here.
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                                        C. Contribution Obligation:

29.        On May 9, 2011, Scott Niemeyer, Vice-President of Lan-Tel (a.k.a. “Lan-Tel

           Communication; Underground Services, Inc.”) executed a Letter of Assent-A (Exhibit “B”)

           which authorized the Association as Lan-Tel’s collective bargaining representative and bound

           it to the Missouri Voice, Data, Video/Security Labor Agreement CBA “and subsequent

           approved labor agreements” between the Association and Plaintiff Union. First RFA, Nos.

           1-3; Fennesy Aff., ¶24; Borden Aff., ¶24; see also Missouri Voice, Data, Video/Security

           Agreement/Effective 3/1/10 (Exhibit “C”); Missouri Voice, Data, Video/Security

           Agreement Addendum for Local Union No. 124, IBEW and Kansas City Chapter,

           NECA/Effective 5/30/11 – 5/31/2013 (Exhibit “D”); Missouri Voice, Data, Video/Security

           Agreement Addendum for Local Union No. 124, IBEW and Kansas City Chapter,

           NECA/Effective 9/1/13 – 8/28/16 (Exhibit “E”); and Missouri Voice, Data, Video/Security

           Agreement Addendum for Local Union No. 124, IBEW and Kansas City Chapter,

           NECA/Effective 12/26/16 –11/27/2019 (Exhibit “F”).

30.        From May 9, 2011 to date, Lan-Tel was and remained continuously bound to the Missouri

           Voice, Data, Video/Security Labor Agreement CBA and subsequent CBAs and

           Addendums thereto. First RFA, Nos. 4-8; Fennesy Aff., ¶25; Borden Aff., ¶25.

31.        The “Lan-Tel Communication; Underground Services, Inc.” listed on the May 9, 2011

           contract stipulation (Exhibit “B”) is a name used by defendant Lan-Tel, a for-profit Missouri

           business formed on September 28, 1999 and registered with the Missouri Secretary of State

           under Charter No. 00474702. First RFA, No. 3.

32.        Lan-Tel agreed, under the terms of the CBAs and addendums identified above, to withhold

           supplemental dues from electrical employees’ wages on behalf of Plaintiff Union and to


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           timely and accurately pay and contribute to Plaintiff Funds various sums per hour for each

           electrical employee performing work covered under said CBAs and addendums. First RFA,

           No. 11; Fennesy Aff., ¶26; Borden Aff., ¶26.

33.        Lan-Tel employed electricians during the Audit Period (July 1, 2014 to June 30, 2018) who

           performed work covered by the CBAs and addendums identified above, and on whose

           behalf supplemental dues and employee benefit contributions are due and owing to

           Plaintiffs. First RFA, Nos. 9-10, 17-20; Fennesy Aff., ¶27; Borden Aff., ¶27; see also First

           RFA, Nos. 21-173 (for individual electrical employees listed in the audit detail); Exhibit

           “G” – Affidavit of Amy Rote in Support of Unpaid Fringe Benefit Contributions and Audit

           Costs (“Rote Aff.”) ¶4; Exhibit “1” to Rote Aff. (Lan-Tel Audit).

34.        Lan-Tel failed to properly withhold all supplemental dues and pay all employee benefit

           plan contributions due and owing to Plaintiffs on behalf of Lan-Tel’s electrical employees

           during the Audit Period. First RFA, Nos. 17-20; Rote Aff., ¶5; Exhibit “1” to Rote Aff; see

           also Fennesy Aff., ¶29; Borden Aff., ¶29.

35.        Lan-Tel agreed, under the terms of the CBAs and addendums identified above and the trust

           agreements to which Lan-Tel became bound, to pay liquidated damages and interest on

           any employee benefit plan contribution payments made later than the time required to said

           Plaintiff Funds. First RFA, Nos. 12, 19 (liquidated damages), 20 (interest); Exhibit “C”,

           §6.02(a)-(c), (j); Exhibit “D”, §6.02(c); Exhibit “E”, 6.02(c); Exhibit “F”, §6.02(c); see

           also Fennesy Aff., ¶31; Borden Aff., ¶31; Exhibit “K”, Affidavit of Kevin Smith (“Smith

           Aff.”), ¶6; Exhibit “1” to Smith Aff. (Discussion and Resolution for Minutes – Liquidated

           Damages and Interest Assessments for the Plaintiff Funds.




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36.        Pursuant to the terms of the CBAs and addendums identified above and the trust

           agreements to which Lan-Tel became bound, Lan-Tel is obligated to Plaintiffs for costs

           incurred by Plaintiffs in collection of the any unpaid employee benefit plan contributions

           found to be due and owing. First RFA, No. 13; Fennesy Aff., ¶32; Borden Aff., ¶32.

37.        Pursuant to the terms of the CBAs and addendums identified above and the trust

           agreements to which Lan-Tel became bound, Lan-Tel is obligated to Plaintiffs for

           liquidated damages and interest accrued on any unpaid employee benefit plan contributions

           found to be due and owing, beginning from the time when payment of the unpaid

           contributions first became due. First RFA, Nos. 14, 19 (liquidated damages), 20 (interest);

           Rote Aff., ¶8; Exhibit “1” to Rote Aff; Fennesy Aff., ¶33; Borden Aff., ¶33.

38.        Pursuant to the terms of the CBAs and addendums identified above and the trust

           agreements to which Lan-Tel was bound, Lan-Tel is obligated to Plaintiff Funds for

           attorneys’ fees incurred by Plaintiffs in collection of unpaid employee benefit plan contrib-

           utions found to be due and owing. First RFA, No. 15; Fennesy Aff., ¶34; Borden Aff., ¶34.

                                             D. Audit Findings

39.        The Trustees of the Plaintiff Funds authorized Construction Benefits Audit Corporation to

           audit Lan-Tel’s books and records for the time period of July 1, 2014 to June 30, 2018 to

           determine whether Lan-Tel properly withheld all supplemental dues owed the Plaintiff

           Union and properly paid all employee benefit plan contributions owed on behalf of its

           electrical workers, and to calculate the liquidated damages and interest owed on any unpaid

           amounts, if any. Fennesy Aff., ¶28; Borden Aff., ¶28.

40.        Construction Benefits Audit Corporation prepared an audit of the unpaid contributions,

           liquidated damages and interest due during the Audit Period, which consists of an Audit



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           Comments summary sheet and Variances by Man spreadsheet. Rote Aff., ¶2; Exhibit “1” to

           Rote Aff.

41.        As of the date of the audit report dated October 12, 2018, Lan-Tel was liable for unpaid

           employee benefit plan contributions due to electrical employees under the CBAs to which

           it was a party in the amount of $205,971.28 (excludes Local 124 Dues and “Adm. Maint.

           Fund”). Rote Aff., ¶7; Exhibit “1” to Rote Aff.

42.        Review of the payroll records of Lan-Tel reveal that it failed to pay fringe benefit

           contributions to the Plaintiff Funds on behalf of electrical employees in the amounts as follows

           (excludes Local 124 Dues and “Adm. Maint. Fund”):

             National Electrical Benefit Fund (NEBF)                                     $8,104.40

             Apprenticeship & Training Fund                                              $4,574.01

             Health & Welfare Fund                                                       $63,997.45

             Annuity Fund                                                                $48,941.97

             Pension Fund                                                                $50,103.98

             Vacation and Holiday Fund                                                   $26,819.78

             401(k) Fund                                                                 $2,146.52

             Labor Management Cooperation Trust (LMCC)                                   $1,283.17

                                                                       TOTAL:           $205,971.28

           Rote Aff., ¶7; Exhibit “1” to Rote Aff.

43.        As of the date of the audit report dated October 12, 2018, Lan-Tel was liable for unpaid

           union dues (“Local 124 dues”) due to Plaintiff Union on behalf of its electrical employees

           under the CBAs to which it was a party in the amount of $19,600.38. Rote Aff., ¶6; Exhibit

           “1” to Rote Aff.


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                                    E. Liquidated Damages and Interest

44.        The CBAs, Trust Agreements, and Resolutions of the Board of Trustees of the Plaintiff

           Funds provide for imposition of liquidated damages and interest for late paid or unpaid

           contributions. First RFA Nos. 12, 14; Fennesy Aff. ¶31; Borden Aff., ¶31.

45.        Lan-Tel agreed under the terms of the CBAs and trust agreements to which it was bound

           to pay liquidated damages and interest on late paid or unpaid employee benefit plan

           contributions to the Plaintiff Funds. See Fennesy Aff. ¶31; Borden Aff. ¶31; First RFA, Nos.

           12, 14; see also Nos. 19 (liquidated damages) and 20 (interest).

46.        The Plaintiff Funds’ Administrative Office maintains records of employee benefit plan

           contribution payments made by contributing employers on behalf of the Plaintiff Funds;

           review of these records shows that Lan-Tel has made late payments of employee benefit

           plan contributions to Plaintiff Funds as follows:

             Work Month       Contribution          Date Due         Date       LD %        LD $
                                Amount                              Received
               3/1/2016       $10,585.66           4/15/2016        6/6/2016     5%        $529.28
               4/1/2016       $13,133.47           5/15/2016        6/6/2016     5%        $656.67
               5/1/2016       $19,071.38           6/15/2016       7/25/2016     5%        $953.57
               6/1/2016       $20,138.23           7/15/2016        8/2/2016     5%       $1,006.91
               7/1/2016       $29,381.50           8/15/2016       10/5/2016     5%       $1,469.08
               8/1/2016       $24,667.21           9/15/2016      10/11/2016     5%       $1,233.36
               9/1/2016       $23,516.83          10/15/2016       12/2/2016     5%       $1,175.84
              10/1/2016       $14,394.79          11/15/2016       12/2/2016     5%        $719.74
              11/1/2016       $15,561.16          12/15/2016      12/19/2016     5%        $778.06
              12/1/2016       $19,299.45           1/15/2017       1/23/2017     5%        $964.97
               1/1/2017       $16,534.28           2/15/2017       4/15/2017     5%        $826.71
               2/1/2017       $19,808.51           3/15/2017        5/3/2017     5%        $990.43
               3/1/2017       $29,431.75           4/15/2017        5/3/2017     5%       $1,471.59
               4/1/2017       $33,803.06           5/15/2017       6/12/2017     5%       $1,690.15
               5/1/2017       $63,560.08           6/15/2017        8/3/2017     5%       $3,178.00
               6/1/2017       $66,104.80           7/15/2017       8/28/2017     5%       $3,305.24
               7/1/2017       $65,786.75           8/15/2017       9/11/2017     5%       $3,289.34
               8/1/2017       $58,941.55           9/15/2017       9/26/2017     5%       $2,947.08
               9/1/2017       $39,142.94          10/15/2017      10/19/2017     5%       $1,957.15
              10/1/2017       $30,340.94          11/15/2017      11/27/2017     5%       $1,517.05

{00373879;IBEW17-135;JJW }                          xv

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            11/1/2017          $30,887.17        12/15/2017        1/5/2018       5%     $1,544.36
            12/1/2017          $30,238.02         1/15/2018       1/31/2018       5%     $1,511.90
             1/1/2018          $28,637.66         2/15/2018       2/20/2018       5%     $1,431.88
             3/1/2018          $38,319.91         4/15/2018       4/20/2018       5%     $1,916.00
             5/1/2018          $26,161.70         6/15/2018       6/20/2018       5%     $1,308.09
            12/1/2018          $22,006.58         1/15/2019       1/18/2019       5%     $1,100.33
            TOTALS:           $789,455.38                                         5%    $39, 472.77
           Smith Aff., ¶6.

47.        Lan-Tel is liable to Plaintiff Funds for liquidated damages in the amount of $39,472.77 on

           its late payments of employee benefit plan contributions to Plaintiff Funds as follows:

             Apprenticeship & Training Fund                          $ 1,380.56

             Health & Welfare Fund                                  $ 20,404.05

             Annuity Fund                                            $ 6,453.23

             Pension Fund                                            $ 5,756.50

             Vacation and Holiday Fund                               $ 4,039.37

             401(k) Fund                                             $ 1,010.52

             Labor Management Cooperation Trust (LMCC)               $ 428.54

                                                   TOTAL:           $ 39,472.77

           Smith Aff., ¶7.

48.        Lan-Tel is liable to Plaintiff Funds for liquidated damages in the amount of $10,298.60 and

           interest in the amount of $16,529.07 on the unpaid employee benefit plan contributions as

           follows (excludes Local 124 Dues and “Adm. Maint. Fund”):

                                                               Liquidated Damages         Interest

             National Electrical Benefit Fund (NEBF)                  $405.22             $706.89

             Apprenticeship & Training Fund                           $228.71             $367.55

             Health & Welfare Fund                                   $3,199.88           $5,136.28



{00373879;IBEW17-135;JJW }                         xvi

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             Annuity Fund                                              $2,447.10           $3,926.38

             Pension Fund                                              $2,505.21           $4,207.50

             Vacation and Holiday Fund                                 $1,340.99           $1,961.12

             401(k) Fund                                                   $107.33          $123.68

             Labor Management Cooperation Trust (LMCC)                     $64.16           $99.67

                                                     TOTAL:            $10,298.60         $16,529.07

           Rote Aff., ¶¶9-10; Exhibit “1” to Rote Aff.

                                                F. Audit Costs

49.        The CBAs, Trust Agreements, and Resolutions of the Board of Trustees of the Plaintiff

           Funds provide that an employer is responsible for audit charges incurred as a result of late

           paid or unpaid contributions. First RFA No. 13; Fennesy Aff. ¶30; Borden Aff., ¶30.

50.        Lan-Tel agreed under the terms of the CBAs and trust agreements to which it was bound

           to pay audit costs incurred by the Plaintiff Funds. First RFA No. 13; Fennesy Aff. ¶30;

           Borden Aff., ¶30.

51.        Lan-Tel is liable to Plaintiff Funds for $37,126.25 in audit costs. Rote Aff. ¶¶11-12.

52.        Lan-Tel is liable to Plaintiff Funds for audit costs as follows:

             National Electrical Benefit Fund (NEBF)                   $ 1,460.82

             Apprenticeship & Training Fund                           $       824.46

             Health & Welfare Fund                                    $ 11,535.52

             Annuity Fund                                              $ 8,821.77

             Pension Fund                                              $ 9,031.22

             Vacation and Holiday Fund                                 $ 4,834.26

             401(k) Fund                                               $      386.91


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             Labor Management Cooperation Trust (LMCC)                 $   231.29

                                                     TOTAL:           $ 37,126.25

           Rote Aff., ¶12.

                                         G. Attorney’s Fees and Costs

53.        Pursuant to the CBAs and trust agreements to which Lan-Tel is bound, Lan-Tel is liable to

           the Plaintiff Funds for attorney’s fees and costs incurred in collection of the unpaid

           contributions. (See RFA Nos. 15, 16; Fennesy Aff. ¶34; Borden Aff., ¶34.

54.        Lan-Tel agreed under the terms of the CBAs and trust agreements to which it was bound

           to pay attorney’s fees and costs incurred by the Plaintiff Funds for collection of unpaid

           contributions. (See RFA Nos. 15-16; Fennesy Aff., ¶34; Borden Aff., ¶34.

55.        Lan-Tel is liable to Plaintiff Funds for $23,998.10 in attorney’s fees and costs. Westerhaus

           Aff., ¶¶4-5.

56.        Lan-Tel is liable to Plaintiff Funds for attorney’s fees as follows:

             National Electrical Benefit Fund (NEBF)                  $ 1,199.91

             Apprenticeship & Training Fund                           $    719.94

             Health & Welfare Fund                                    $ 10,079.20

             Annuity Fund                                             $ 2,399.81

             Pension Fund                                             $ 4,079.68

             Vacation and Holiday Fund                                $ 2,879.77

             401(k) Fund                                              $ 2,399.81

             Labor Management Cooperation Trust (LMCC)                $    239.98

                                                     TOTAL:            $23,998.10

           Westerhaus Aff., ¶5; Exhibit “1” to Westerhaus Aff.


{00373879;IBEW17-135;JJW }                          xviii

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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF MISSOURI
                                         WESTERN DIVISION

LOCAL UNION NO. 124 IBEW PENSION                              )
TRUST FUND, et al.,                                           )
                                                              )
                                         Plaintiffs,          )
           v.                                                 )       No. 4:18-cv-00221-BCW
                                                              )
LAN-TEL COMMUNICATIONS SERVICES, INC.,                        )
                                                              )
                                         Defendant.           )

                                PLAINTIFFS’ MEMORANDUM IN SUPPORT OF
                                 MOTION FOR SUMMARY JUDGMENT

           COME NOW Plaintiff International Brotherhood of Electrical Workers Local Union No. 124,

AFL-CIO (“Plaintiff Union”) and Plaintiffs Local Union No. 124 I.B.E.W. Pension Trust Fund,

National Electrical Benefit Fund, Local Union No. 124, IBEW - NECA Annuity and 401K Trust

Fund, I.B.E.W. Local Union No. 124 Health and Welfare Fund, Local Union No. 124 I.B.E.W.

Vacation & Holiday Trust Fund, Electrical Joint Apprenticeship and Training Trust Fund, and Labor

Management Cooperation Trust (“Plaintiff Funds”) (collectively, “Plaintiffs”), by and through their

attorneys of record, and in support of their Motion for Summary Judgment against Defendant, Lan-

Tel Communications Services, Inc. (“Lan-Tel”), state:

                             NATURE OF CASE AND PROCEDURAL ANALYSIS

           Plaintiffs bring this action to collect unpaid supplemental dues owed to Plaintiff Union,

and unpaid employee benefit plan contributions found to be due and owing to Plaintiff Funds from

Lan-Tel, pursuant to Section 301 of the Labor Management Relations Act (“LMRA”), 29 U.S.C.

§185, and Sections 502 and 515 of the Employee Retirement Income Security Act of 1974

(“ERISA”), 29 U.S.C. §§ 1132, 1145, and all associated and applicable damages incurred in the

collection thereof. (Statement of Undisputed Material Facts (“SUMF”), ¶¶1, 34-38).



{00373879;IBEW17-135;JJW }               1
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           Plaintiff Union is an unincorporated association comprised of and representing persons

engaged in electrical work and related activities. Plaintiff Union is a labor organization within the

meaning of Section 2(5) of the National Labor Relations Act (“NLRA”), 29 U.S.C. § 152(5),

representing employees in an industry affecting commerce within the meaning of Section 301(a)

of the LMRA, 29 U.S.C. §185(a), and is an “employee organization” within the meaning of Section

3(4) of ERISA, 29 U.S.C. § 1002(4). (SUMF, ¶24). Plaintiff Funds are trust funds existing and

established pursuant to Section 302 of the LMRA, 29 U.S.C. §186, and are employee benefit plans

within the meaning of Section 3 of ERISA, 29 U.S.C. § 1002. The Plaintiff Trustees of the

respective trust funds are the duly appointed and acting Trustees of the respective Funds. (See

SUMF, ¶¶2-4 (Pension), 5-7 (NEBF), 8-10 (Annuity/401(K), 11-13 (Welfare), 14-16 (Vacation),

17-19 (Training), and 20-22 (LMCC).

           Plaintiffs seek, among other things, the unpaid supplemental dues withheld from wages by

Lan-Tel and the unpaid employee benefit plan contributions due and owing Plaintiffs on behalf of

Lan-Tel’s electrical employees, in accordance with the collective bargaining agreements (“CBAs”)

in effect between Kansas City Division, Kansas City Chapter, National Electrical Contractors

Association, Inc. (“Association”) and the Union, and by the Amended Agreements and

Declarations of Trust of each of the Plaintiff Funds. As set forth in more detail below, an

independent audit of Lan-Tel’s books and records from the time period July 1, 2014 to June 30,

2018 (the “Audit Period”) revealed that Lan-Tel had failed to properly pay (a) all supplemental

dues withheld from the wages of its electrical employees and (b) all employee benefit plan

contributions due on behalf of its electrical employees during the Audit Period. (See generally

SUMF, ¶¶33-34, 39-43). Plaintiff Funds’ records also show that Lan-Tel has failed to timely remit




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and pay the employee benefit plan contributions due on behalf of its electrical employees. (See

SUMF, ¶44-47).

           Plaintiffs filed2 a Complaint on March 21, 2018 (ECF No. 1) and served Lan-Tel with a

copy of the Complaint on March 29, 2018 (ECF No. 3). 3 Lan-Tel filed its answer on April 19,

2018 (ECF No. 5). Plaintiffs and Lan-Tel agreed to a scheduling order (ECF No. 12) and Plaintiffs

began discovery.4 Plaintiffs served written discovery requests upon Lan-Tel, including Plaintiffs’

First Request for Production of Documents to Defendant (“First RFP”, see ECF No. 9),5 Plaintiffs’

Second Request for Production of Documents to Defendant (“Second RFP”, see ECF No. 14)6,

and Plaintiffs’ First Request for Admissions to Defendant (“First RFA”, attached hereto as Exhibit

“A”; see also ECF No. 13).

           Plaintiffs served Lan-Tel with the First RFA on December 3, 2018. Lan-Tel’s responses to

the First RFA were originally due on January 3, 2019, though that deadline was extended twice

through mutual consent (see ECF Nos. 15-18). The Court’s most recent deadline for Lan-Tel’s

responses to the First RFA was January 15, 2019 (ECF No. 18). However, as of the date of the



2
 Venue is proper. Plaintiffs filed suit in the Western District of Missouri, as Plaintiffs are located in the
District and Lan-Tel performed the work that is the subject of this dispute in this District. See SUMF, ¶¶26-
28.
3
    Plaintiffs also served the Secretary of the Treasury and the Secretary of Labor with copies of the complaint,
     as required by Section 502(h) of ERISA, 29 U.S.C. §1132(h). (SUMF, ¶25).
4
    The pretrial discovery deadline is today, February 8, 2019. (ECF No. 12, #7).
5
    Plaintiffs served its First RFP on Lan-Tel on June 1, 2018, essentially requesting all documents required
    to perform an audit of Lan-Tel’s books and records. Lan-Tel did not formally respond to Plaintiffs’ First
    RFP, but submitted instead to an on-site audit of its books and records by Plaintiffs’ third-party auditor.
6
    Plaintiffs served its Second RFP on Lan-Tel on December 12, 2018, which were due on January 11, 2019.
    However, Lan-Tel did not respond to Plaintiffs’ production requests and has still not produced any of the
    documents requested.




{00373879;IBEW17-135;JJW }               3
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filing of this motion, Lan-Tel has failed to respond at all to Plaintiffs’ First RFA.7 By failing to

timely respond, Lan-Tel is deemed to have admitted all allegations set forth in the First RFA. Fed.

R. Civ. P. 36(a)(3), see also Luick v. Graybar Elec. Co. 473 F.2d 1360, 1362 (8th Cir. 1973),

Abdul-Waali v. Restart, Inc., 2011 WL 5599257 (W.D.Mo. 2011). This matter is therefore ripe for

adjudication via the instant motion for summary judgment as there are no disputed issues of

material fact, and is within the dispositive motion deadline of February 22, 2019 set forth in this

Court’s scheduling order (ECF No. 12).


                                   ARGUMENT AND AUTHORITIES

I.         The Standard for Granting Plaintiffs’ Motion for Summary Judgment

           The Court may grant summary judgment to a party moving for same only if there is no

genuine dispute as to material fact and if the moving party is entitled to judgment as a matter of

law. See Fed. R. Civ. P. 56(a); see also Cheshewalla v. Rand & Son Constr. Co., 415 F.3d 847,

850 (8th Cir. 2005). Plaintiffs have the burden of showing that there is no genuine dispute as to

the material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 106 Sup. Ct. 2548 (1986). The moving

party must support their assertions either by citing to particular parts of materials in the record or

showing that the non-moving party cannot produce admissible evidence to support a fact. Fed. R.

Civ. P. 56(c)(1). When the moving party has met this burden, the non-moving party must set forth

evidence of specific facts showing the existence of a genuine issue for trial. Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 106 Sup. Ct. 2505 (1986). Whether a fact is material hinges on the

substantive law at issue. Katekaru v. Egan, No. 4:13-cv-349-DGK, 2015 WL 4727412 (W.D. Mo.

Aug. 10, 2015). As explained below, the uncontroverted facts, as applied to the substantive law


7
    In addition to failing to respond to Plaintiffs’ discovery requests, Lan-Tel has initiated no discovery of its
     own, has not produced any initial Rule 26 disclosures, has not identified any experts, and has not
     designated any witnesses. Westerhaus Aff., ¶6.


{00373879;IBEW17-135;JJW }               4
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governing this action, demonstrate that Plaintiffs are entitled to summary judgment regarding Lan-

Tel’s liability to the Plaintiffs.

           On December 3, 2018, Plaintiffs served Plaintiffs’ First Request for Admissions to

Defendant (“First RFA”) on Lan-Tel. The responses to the First RFA were due on January 15,

2019 after a response deadline extension. See ECF No. 18. As stated above, Lan-Tel has failed to

respond to Plaintiffs First RFA. The Federal Rules of Civil Procedure provide that that if a party

makes a request for admissions and the other party does not respond within thirty days, then the

matters at issue shall be deemed admitted. Fed. R. Civ. P. 36(a)(3); see also Luick v. Graybar Elec.

Co. 473 F.2d 1360, 1362 (8th Cir. 1973), Abdul-Waali v. Restart, Inc., Civ. No. 10-0567, 2011

WL 5599257 (W.D.Mo. Nov. 11, 2011); In re Yates, 429 B.R. 675, 680 (Bank.E.Mo. 2010).


II.        The evidence is uncontroverted that Lan-Tel failed to withhold supplemental dues
           or properly pay the employee benefit plan contributions required by the CBAs on
           behalf of its electrical employees.

           A.         Plaintiffs have met the statutory requirements for bringing this action.

           Plaintiffs bring this action to collect unpaid supplemental dues owed to Plaintiff Union,

and late and unpaid employee benefit plan contributions due and owing to Plaintiff Funds from

Lan-Tel, pursuant to Sections 502 and 515 of ERISA, 29 U.S.C. §§ 1132, 1145, and Section 301 of

the LMRA, 29 U.S.C. §185, as well as all damages and costs associated with collecting these

unpaid or late paid amounts. (SUMF, ¶¶1, 34-38).

           Plaintiff Union is an unincorporated association comprised of and representing persons

engaged in electrical work and related activities. The Union is a labor organization within the

meaning of Section 2(5) of the National Labor Relations Act (“NLRA”), 29 U.S.C. § 152(5), which

represents employees in an industry affecting commerce within the meaning of Section 301(a) of

the LMRA, 29 U.S.C. §185(a). (SUMF, ¶24). Section 301 of the LMRA permits labor


{00373879;IBEW17-135;JJW }               5
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organizations to bring suits for “violation of contracts between an employer and a labor

organization,” including a CBA. Lan-Tel is a signatory employer to Plaintiff Union’s CBAs

(SUMF, ¶29) and has violated the provisions of those CBAs (SUMF, ¶34), so Plaintiff Union has

satisfied the statutory requirements for bringing this action under Section 301 of the LMRA.

           Plaintiff Funds are trust funds existing and established pursuant to Section 302 of the

LMRA, 29 U.S.C. §186, and are employee benefit plans within the meaning of Section 3 of

ERISA, 29 U.S.C. §1002. Plaintiff Funds’ cause of action is based upon Section 502 and Section

515 of ERISA, 29 U.S.C. § 1132 and 29 U.S.C. § 1145, which obligates employers making

contributions to a multiemployer plan under the terms of a CBA to make such contributions in

accordance with the terms and conditions of the CBA and each Plan. (SUMF, ¶1-22). Lan-Tel has

failed to properly pay contributions in accordance with the CBA and each Plan, so Plaintiffs have

satisfied the statutory requirements under ERISA §515, 29 U.S.C. §1145 for bringing this action.

(SUMF, ¶34).

           Congress added Section 515 to ERISA to “simplify actions to collect delinquent

contributions, avoid costly litigation, and enhance actuarial planning necessary to the

administration of multi-employer pension plans.” BAC Local Union 15 Pension Fund v. Lonnie

Crowell Masonry, Inc., No, 02-74-HFS, 2002 WL 31761565 (W.D. Mo. Nov. 25, 2002); Cent.

States v. Indep. Fruit and Produce Co., 919 F.2d 1343, 1348 (8th Cir. 1990). Courts have

consistently held that ERISA §515 strengthens the position of multi-employer plans by holding

employers and unions to the literal terms of their written commitments. See Laborers Health and

Welfare Trust Fund v. Advanced Lightweight Conc., 484 U.S. 539, 108 S.Ct. 930, 98 L.Ed.2d 936

(1988); Orrand v. Scassa Asphalt, Inc., 794 F.3d 556, 562 (6th Cir. 2015); Midwest Operating

Engineers v. Dredge, 147 F.Supp.3d 724, 741 (N.D. Ill. 2015).




{00373879;IBEW17-135;JJW }               6
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           B.         Lan-Tel stipulated to the CBA requiring accurate and timely payment of
                      employee benefit plan contributions to Plaintiffs and is bound by its terms.

           It is undisputed that Lan-Tel executed a stipulation binding it to CBAs requiring withhold

supplemental dues from electrical employees’ wages on behalf of Plaintiff Union and requiring proper

and timely payment of employee benefit plan contributions to Plaintiff Funds. (SUMF, ¶¶29-32).

Lan-Tel was also bound to successor CBA agreements requiring these same sums to be paid to

Plaintiffs in accordance thereto. (SUMF, ¶29; see also Greater St. Louis Const. Laborers Welfare

Fund v. Don Richardson Concrete Co., 775 F. Supp. 1249, 1253 (E.D. Mo. 1991)).

           Lan-Tel executed a Letter of Assent (Exhibit “A”) on May 9, 2011, which authorized the

Association as its collective bargaining representative and bound it to the Missouri Voice, Data,

Video/Security CBA (Exhibit “B”) then in effect “and any subsequent approved” CBAs between the

Association and Plaintiff Union. (Exhibits “C” – “E”) (SUMF, ¶29). From May 9, 2011 to date, Lan-

Tel was and remained continuously bound to the Missouri Voice, Data, Video/Security CBA and

subsequent CBAs and Addendums thereto. (SUMF, ¶30). This CBA and its addendums required

Lan-Tel, among other things, to pay specified hourly wages, deduct dues amounts, and make

accurate and timely employee benefit plan contributions on behalf of its electrical workers

performing covered work within the jurisdiction of the CBA. See, e.g., (SUMF, ¶32; see also, e.g.,

Exhibit “C”, Arts. III, VI; Exhibit “D”, §3.15, Art. VI.)

           By the terms of the written agreements to which Lan-Tel agreed, Lan-Tel is obligated to

Plaintiff Union for supplemental dues withheld from the wages of its electrical employees, and

obligated to Plaintiff Funds for employee fringe benefit contributions owed on behalf of its

electrical employees. (SUMF, ¶32; see also Trustees of Minn. Ceramic Tile & Allied Trades Ret.

Fund v. Legacy Tile & Marble, Inc., No. Civ. 06-2965, 2008 WL 624120, at 6 (D.Minn. Mar. 4,

2008) (“When an employer agrees to make contributions to fringe benefit funds pursuant to a CBA,



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the terms of that CBA define the employer's obligation to make those payments.”) Lan-Tel’s

failure to comply with the CBA or the Trust Agreements of the various Plaintiff Funds is a breach

of the CBA, and has resulted in the present action to recover the owed sums and other damages,

including liquidated damages, interest, costs, and attorney’s fees. (SUMF, ¶¶ 33-38; Exhibit “C”,

Art. VI(n); see also Exhibit “D”, §6.02(c),(e)-(f)).

           C.         Lan-Tel’s electrical employees performed work covered by the CBAs which
                      required contributions to Plaintiffs.

           Electrical work is covered by the subject CBAs and electrical employees of Lan-Tel were

employed under the terms of the CBA where Lan-Tel agreed, among other things, to pay and

contribute to Plaintiff Funds various sums per hour for each electrical employee covered by and

subject to said agreement during the Audit Period (July 1, 2014 through June 30, 2018). (SUMF,

¶33). Lan-Tel’s electrical employees performed work covered by the subject CBA during the Audit

Period, but an independent audit of Lan-Tel’s books and financial records revealed that Lan-Tel

failed to remit to Plaintiff Union the supplemental dues withheld from electrical employees’ wages,

and had also failed to pay employee fringe benefit contributions to Plaintiff Funds due on behalf

of said employees. (SUMF, ¶¶33, 39-43). Lan-Tel cannot dispute that its electrical employees

regularly perform covered work, as it has regularly remitted contributions to the Plaintiff Funds

during the Audit Period. (See SUMF, ¶46).

           Lan-Tel’s electrical employees clearly performed work covered by the subject CBA and

failed to make the required payments to Plaintiffs on behalf of its employees for such work during

the Audit Period. Therefore, pursuant to ERISA §515, 29 U.S.C. §1145, Lan-Tel is liable to the

Plaintiffs for the amounts of the supplemental dues and the delinquent contributions.




{00373879;IBEW17-135;JJW }               8
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           D.         Lan-Tel has not (and cannot) rebut Plaintiff’s claims.

           Lan-Tel did not respond to Plaintiffs requests for admission within the deadline provided

by Fed. R. Civ. P. 36(a)(3) or this Court’s grant of time extensions for same. By failing to timely

respond, Lan-Tel is deemed to have admitted all allegations set forth in Plaintiffs First RFA

(Exhibit “A”), see Luick v. Graybar Elec. Co. 473 F.2d 1360, 1362 (8th Cir. 1973) (summary

judgment may be based on an admitted matter); Abdul-Waali v. Restart, Inc., 2011 WL 5599257

(W.D.Mo. 2011); see also U.S. v. Kasuboski, 834 F.2d 1345, 1350 (7th Cir. 1987); Dukes v. S.

Carolina Ins. Co., 770 F.2d 545 (5th Cir. 1985); Donovan v. Carls Drug Co., 703 F.2d 650 (2nd

Cir. 1983). Plaintiffs have supplemented the admissions with exhibits, including affidavits, in

support of their claims. See U.S. v. Kasuboski, 834 F.2d at 1350. Meanwhile, Lan-Tel did not

allege any affirmative defenses in its Answer (ECF No. 5), has not produced any documents or

responses to Plaintiffs’ discovery requests or pursuant to Fed. R. Civ. P. 26, has not designated

any experts, and has not otherwise engaged or participated in discovery, which has now closed.

Finally, Lan-Tel cannot dispute the validity of the CBA, its obligations thereunder, or the nature

of its electrical employees’ work, as Lan-Tel has regularly remitted employee benefit contributions

to the Plaintiff Funds on behalf of its electrical employees during the Audit Period, albeit

incorrectly calculated and several months after the due date specified in the CBAs. (SUMF, ¶46).

            As a result of the foregoing, Lan-Tel cannot meaningfully rebut Plaintiffs’ claims, which

were properly stated and grounded in Section 502 and Section 515 of ERISA, 29 U.S.C. § 1132 and

29 U.S.C. § 1145, and under Section 301 of the LMRA, as amended, 29 U.S.C. §185. There is

therefore no issue of material fact or law left to resolve regarding Lan-Tel’s liability to Plaintiffs.

The only remaining issue for this Court to resolve is Plaintiffs’ damages, as discussed below.




{00373879;IBEW17-135;JJW }               9
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III.       Lan-Tel is liable to the Plaintiffs for unpaid supplemental dues, employee benefit
           plan contributions, liquidated damages, interest, audit costs, attorney’s fees and
           other costs.

           A.         Unpaid Supplemental Dues.

           Pursuant to the CBAs to which Lan-Tel was bound, an independent audit was performed

to calculate the supplemental dues withheld from the wages of Lan-Tel’s electrical employees but

not paid to Plaintiff Union on behalf of the employees performing work covered by such CBAs.

(SUMF, ¶¶39-43). The auditor determined the amount of the unpaid dues owed to Plaintiff Union

(SUMF, ¶43) and calculated that amount to equal $19,600.38. (SUMF, ¶43).

           B.         Unpaid Employee Benefit Plan Contributions and associated damages.

           As set forth above, Lan-Tel was obligated to make contributions to the terms of the CBA

in accordance with its terms. Pursuant to the CBAs, Trust Agreements, and Resolutions of the

Boards of Trustees to which Lan-Tel was bound, an independent audit was performed to calculate

the unpaid employee benefit contributions for the employees performing work covered by such

CBAs. (SUMF, ¶¶39-43). Said audit determined that Lan-Tel had employed electricians during

the Audit Period that performed work covered by the CBAs and addendums, but had failed to

properly pay all employee benefit plan contributions owed thereunder to Plaintiff Funds. (SUMF,

¶33-34, 39-42).

           Lan-Tel did not properly pay all employee benefit plan contributions owed and Plaintiff

Funds brought suit under ERISA § 515, 29 U.S.C. § 1145 to enforce the terms of the CBA.

Consequently, Plaintiff Funds are entitled to a mandatory award of liquidated damages and

interest, as well as a mandatory award of their attorneys’ fees and costs in this action pursuant to

ERISA § 502(g)(2), 29 U.S.C. § 1132(g)(2). Iron Workers St. Louis District Council Annuity Trust

v. United Ironworkers, Inc., No. 4:15-713, 2016 WL 7178747 at *3, (E.D. Mo. Dec. 9, 2016) see




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also Construction Industry Laborers Pension Fund v. Thummel, 738 F. 2d 926, 931 (8th Cir. 1984).

These damages are also explicitly set forth in the CBAs, Trust Agreements, and Resolutions of the

Boards of Trustees of the Plaintiff Funds to which Lan-Tel was bound. (SUMF, ¶¶44, 47-56).

           The auditor determined the amount of unpaid contributions, liquidated damages, interest

and audit costs due to the Plaintiff Funds. (SUMF, ¶¶39-45, 48-52). As illustrated by the

independent auditor’s summary the contributions, interest, and liquidated damages are allocated

to the Plaintiff Funds is as follows (excludes “Adm. Maint. Fund”; see also SUMF ¶¶42, 48):

NEBF
DELINQUENT CONTRIBUTIONS                       DAMAGES               INTEREST        TOTAL
               $8,104.40                        $ 405.22               $ 706.89        $9,216.51
TRAINING FUND
DELINQUENT CONTRIBUTIONS                       DAMAGES               INTEREST        TOTAL
        $4,574.01                               $ 228.71               $ 367.55        $5,170.27
WELFARE FUND
DELINQUENT CONTRIBUTIONS                       DAMAGES               INTEREST        TOTAL
       $63,997.45                               $3,199.88              $5,136.28      $72,333.61
ANNUITY FUND
DELINQUENT CONTRIBUTIONS                       DAMAGES               INTEREST        TOTAL
       $48,941.97                               $2,447.10              $3,926.38      $55,315.45
PENSION FUND
DELINQUENT CONTRIBUTIONS                       DAMAGES               INTEREST        TOTAL
        $50,103.98                              $2,505.21              $4,207.50      $56,816.69
VACATION FUND
DELINQUENT CONTRIBUTIONS                       DAMAGES               INTEREST        TOTAL
       $26,819.78                               $1,340.99              $1,961.12      $30,121.89
401(K) FUND
DELINQUENT CONTRIBUTIONS                       DAMAGES               INTEREST        TOTAL
         $2,146.52                              $ 107.33               $ 123.68        $2,377.53
LMCC FUND
DELINQUENT CONTRIBUTIONS                       DAMAGES               INTEREST        TOTAL
      $ 1,283.17                               $ 64.16               $ 99.67         $1,447.00

TOTAL DELINQUENT                               TOTAL                 TOTAL           TOTAL
CONTRIBUTIONS                                  DAMAGES               INTEREST        DUE
       $205,971.28                          $10,298.60            $16,529.07       $252,399.33



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           The total amount of unpaid employee benefit plan contributions due to the Plaintiff Funds

equals $205,971.28. (SUMF, ¶42). The amount of liquidated damages on the unpaid employee

benefit plan contributions due to the Plaintiff Funds equals $10,298.60. (SUMF, ¶48).8 The total

amount of interest due on the unpaid employee benefit plan contributions due to the Plaintiff Funds

equals $16,529.07. (SUMF, ¶48).

           Plaintiff Funds incurred audit costs in the course of auditing Lan-Tel in the amount of

$37,126.25. (SUMF, ¶¶49-52). Allocating those audit costs to these ERISA Funds on a pro-rata

basis (i.e. according to the amount of delinquent contributions owed to those respective Plaintiff

Funds) amounts to an allocation of such audit costs as follows (see SUMF, ¶52):

           N.E.B.F.                                                $    1,460.82
           TRAINING FUND                                           $      824.46
           WELFARE FUND                                            $   11,535.52
           ANNUITY FUND                                            $    8,821.77
           PENSION FUND                                            $    9,031.22
           VACATION FUND                                           $    4,834.26
           401(K) FUND                                             $      386.91
           LMCC FUND                                               $   _ 231.29__
           TOTAL                                                   $   37,126.25



           As of the filing of this motion, the total attorney’s fees and costs incurred by the Plaintiff

Funds in prosecuting this case is $23,998.10. (SUMF, ¶¶53-56). Allocating those attorney’s fees

and costs to these ERISA Funds on a pro-rata basis (i.e. according to the amount of delinquent

contributions owed to those respective Plaintiff Funds) amounts to an allocation of such attorney’s

fees and costs as follows (see SUMF, ¶56):

           N.E.B.F.                                                $ 1,199.91
           TRAINING FUND                                           $   719.94

8
    Pursuant to the CBA and Resolutions of each Plaintiff Fund’s Board of Trustees, the amount of liquidated
    damages assessed against delinquent employers for unpaid employee benefit contributions is 5%. This is
    significantly less than the statutory minimum of 20% permitted under Section 502(g)(2)(C)(ii) of ERISA,
    29 U.S.C. § 1132(g)(2)(C)(ii).


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           WELFARE FUND                                             $ 10,079.20
           ANNUITY FUND                                             $ 2,399.81
           PENSION FUND                                             $ 4,079.68
           VACATION FUND                                            $ 2,879.77
           401(K) FUND                                              $ 2,399.81
           LMCC FUND                                                $ 239.98
           TOTAL                                                    $ 23,998.10

           C.         Late Payments of Employee Benefit Plan Contributions and associated damages.

           Pursuant to the CBAs, Trust Agreements, and Resolutions of the Boards of Trustees to

which Lan-Tel was bound, Lan-Tel agreed to timely remit all employee benefit plan contributions

owed on behalf of its electrical workers to Plaintiff Funds. (SUMF, ¶¶44-47). The Fund

Administrator maintains records of employee benefit plan payments made by contributing

employers and assesses liquidated damages against all payments made later than required by the

CBAs. (SUMF, ¶46). Review of these records shows that Lan-Tel has made late payments of

employee benefit plan contributions to Plaintiff Funds. (SUMF, ¶46). The Fund Office calculates

the liquidated damages to be assessed against these late payments, in accordance with the CBAs,

Trust Agreements, and Resolutions of the Boards of Trustees. Here, the total amount of liquidated

damages owed on the late payments made to Plaintiff Funds during the Audit Period equals

$39,472.77. (SUMF, ¶47-48). These damages are allocated to the Plaintiff Funds as follows:

           TRAINING FUND                                            $ 1,380.56
           WELFARE FUND                                             $ 20,404.05
           ANNUITY FUND                                             $ 6,453.23
           PENSION FUND                                             $ 5,756.50
           VACATION FUND                                            $ 4,039.37
           401(K) FUND                                              $ 1,010.52
           LMCC FUND                                                $ 428.54_
           TOTAL                                                    $ 39,472.77

                                              CONCLUSION

           As the record in this case reflects, there is no dispute as to the material facts. Lan-Tel clearly

executed the Letter of Assent binding it to various CBAs and addendums which require



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contributions to the Plaintiff Funds. Further, Lan-Tel’s employees were clearly performing work

covered by the CBA during the relevant time period. Therefore, Lan-Tel was obligated to withhold

supplemental dues from electrical employees’ wages on behalf of Plaintiff Union and to properly

and timely pay employee benefit plan contributions to Plaintiff Funds on behalf of its electrical

employees. An audit of Lan-Tel’s books and records reveals that Lan-Tel failed to do these things

in accordance with the CBAs and addendums to which they were bound. Lan-Tel cannot rebut

these presumptions, as their books and records form the basis for the audit; the presumptions are

further bolstered by Lan-Tel’s own admissions and its failure to engage in discovery or produce

any requested documents.

           As a matter of law, under the authority cited above, Plaintiffs are entitled to summary

judgment against Lan-Tel. Further, ERISA §515 authorizes Plaintiffs’ collection of such

delinquent contributions, damages, interest, costs, and attorneys’ fees. E.g. Construction Industry

Laborers Pension Fund v. Thummel, 738 F. 2d 926, 931 (8th Cir. 1984). As a result, Plaintiffs are

entitled to summary judgment against Lan-Tel pursuant to Rule 56. See Celotex Corp. v. Catrett,

477 U.S. 317, supra.

           WHEREFORE, Plaintiffs pray for the Court to enter summary judgment for Plaintiffs and

against Lan-Tel, pursuant to LMRA Section 301 and ERISA Sections 502 and 515 as follows:

           1.         Against Lan-Tel and in favor of Plaintiff Union in the amount of NINETEEN

THOUSAND SIX HUNDRED AND 38/100 ($19,600.38) DOLLARS as and for delinquent supplemental

dues owed for the Audit Period (July 1, 2014 to June 30, 2018).

           2.         Against Lan-Tel and in favor of Plaintiff Funds (Plaintiffs Local Union No. 124

I.B.E.W. Pension Trust Fund, National Electrical Benefit Fund, Local Union No. 124, IBEW - NECA

Annuity and 401K Trust Fund, I.B.E.W. Local Union No. 124 Health and Welfare Fund, Local Union




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No. 124 I.B.E.W. Vacation & Holiday Trust Fund, Electrical Joint Apprenticeship and Training Trust

Fund, and Labor Management Cooperation Trust) in the amount of TWO HUNDRED FIVE

THOUSAND, NINE HUNDRED SEVENTY-ONE AND 28/100 ($205,971.28) DOLLARS as and for unpaid

employee benefit plan contributions owed for the Audit Period (July 1, 2014 to June 30, 2018),

TEN THOUSAND, TWO HUNDRED NINETY-EIGHT AND 60/100 ($10,298.60) DOLLARS as and for

liquidated damages assessed on the unpaid employee benefit plan contributions, SIXTEEN

THOUSAND, FIVE HUNDRED TWENTY-NINE AND 07/100 ($16,529.07) DOLLARS as and for interest

assessed on the unpaid employee benefit plan contributions,               THIRTY-SEVEN THOUSAND, ONE

HUNDRED TWENTY-SIX AND 25/100 ($37,126.25) DOLLARS as and for audit costs, TWENTY-THREE

THOUSAND, NINE HUNDRED NINETY-EIGHT AND 10/100 ($23,998.10) DOLLARS, as and for attorney

fees and court costs, and THIRTY-NINE THOUSAND, FOUR HUNDRED SEVENTY-TWO AND 77/100

($39,472.77) DOLLARS as and for liquidated damages assessed on the late-paid employee benefit

plan contributions.

           3.         The total combined judgment for all Plaintiffs is        THREE HUNDRED FIFTY-TWO

THOUSAND, NINE HUNDRED NINETY-SIX AND 45/100 ($352,996.45) DOLLARS for                     Plaintiff Funds.

           4.         Plaintiffs pray for any other equitable relief as this Court may deem just and proper.


                                                     Respectfully Submitted,

                                                     ARNOLD, NEWBOLD, WINTER & JACKSON, P.C.

                                                     /s/ John J. Westerhaus
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                                                     Kansas City, Missouri 64105
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                                                     Facsimile:       816-471-5574
                                                     Attorneys for Plaintiffs




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                                     CERTIFICATE OF SERVICE

       I hereby certify that on February 8, 2019, I electronically filed the foregoing with the Clerk of the
Court using the CM/ECF system which sent notification of such filing to the following: Mr. Eric Roby,
MCELLIGOTT, EWAN, HALL & KIMMINAU, P.C., Attorney for Defendant Lan-Tel.


                                                 /s/ John J. Westerhaus_____________
                                                 John J. Westerhaus




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